                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        CHATTANOOGA

MATTHEW COLTEN GILMORE,                 §
                                        §
                Plaintiff,              §       No. 1:19−cv−00359−PLR−SKL
                                        §
~v~                                     §       JURY DEMAND
                                        §
CITY OF COLLEGEDALE, and                §
                                        §
OFFICER JORDAN LONG,                    §
In his individual and                   §
official capacities as agent            §
and employee of the City                §
of Collegedale,                         §
                                        §
                Defendants.             §

                       NOTICE OF COMPROMISE AND SETTLEMENT

        Come now the Plaintiff, and notifies the Court that the above styled civil action has been

compromised and settled. Pursuant to E.D. Tenn., LR 68.1, an agreed order of dismissal or

stipulation of dismissal will be filed before the date on which the case is set for trial.

                        Respectfully submitted this 10th day of June, 2020.

                                By: /s/ Robin Ruben Flores
                                       ROBIN RUBEN FLORES
                                       TENN. BPR #20751
                                       GA. STATE BAR #200745
                                              Counsel for Plaintiff
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                                              Chattanooga, TN 37411
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CERTIFICATE OF SERVICE

         I that I served a copy of this NOTICE by operation of the Court’s electronic filing system to
all parties indicated on the electronic filing receipt

June 10, 2020                                   /s/ Robin Ruben Flores


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